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                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF MISSOURI
                                            EASTERN DIVISION

S.M., et al.                                          )
                                                      )
               Plaintiffs,                            )
                                                      )     No.: 4:12-CV-02276-PLC
v.                                                    )
                                                      )
LINCOLN COUNTY, et al.                                )
                                                      )
               Defendants.                            )

          PLAINTIFFS S.M., K.W. AND INTERVENORS K.S. AND L.M.’S
      ACKNOWLEDGEMENT OF FULL SATISFACTION OF ALL JUDGMENTS

        Come now Plaintiffs S.M., K.W. by counsel W. Bevis Schock and Hugh A. Eastwood,

and Intervenors K.S. and L.M. by counsel W. Bevis Schock, Hugh A. Eastwood and Michael J.

Fagras, and acknowledge satisfaction herein.

        Plaintiffs acknowledge the following payments on the District Court Judgments,

including attorney’s fees:

                             S.M.            $882,027.56

                             K.W.             588,018.38

                             K.S.             588,018.38

                             L.M.             588,018.38

                             Total:         $2,646,082.70

        These payments satisfy the district court’s judgments as follows:

        Jury Verdicts, Judgments entered by court July 13, 2016, Doc. #: 199:

                             S.M.              750,000.00

                         K.W.                  500,000.00

                         K.S.                  500,000.00
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                     L.M.                  500,000.00

       Attorney’s fees and expenses, Judgments entered by court November 1, 2016, Doc. #:

235

                      Bevis Schock       $230,130.00

                      Hugh Eastwood $101,255.00

                      Michael Fagras       $37,800.00

                      Expenses              $1,721.85

       Costs, Judgment entered by the district court, August 11, 2016, Doc. #: 218

                      Costs                 $7,529.24

       Interest as calculated by Plaintiffs and agreed to by Defendant Lincoln County:

                      Interest             $17,646.61

       Plaintiffs further acknowledge payment of appellate attorney’s fees of $57,800.00 plus

expenses of $243.31 for a total of $58,043.31. Plaintiffs are filing a separate satisfaction for that

judgment in the Court of Appeals.

Respectfully submitted,
Attorneys for Plaintiffs and Intervenors

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Attorney for Intervenors Only

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                                 CERTIFICATE OF SERVICE
I hereby certify that on December 15, 2017 the foregoing was filed electronically with the Clerk
of Court to be served by operation of the Court’s electronic filing system upon the following:
All counsel of record
   /s/ W. Bevis Schock .
W. Bevis Schock, 32551MO
